1S 44. Rev. 1020) Case 2:21-cv-03460-QQAL GOWER SHBG 08/03/21 Page 1 of 19

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the

purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

 

I. (a) PLAINTIFFS DEFENDANTS

Ricole Morgan, individually and as legal guardian of Valley Forge Military Academy & College

T.M., a minor

(b) County of Residence of First Listed Plaintiff County of Residence of First Listed Defendant
(IN U.S. PLAINTIFF CASES ONLY)

(EXCEPT IN U.S. PLAINTIFF CASES)

 

NOTE: IN LAND CONDEMNATION pease USE THE LOCATION OF

 

 

 

 

THE TRACT OF LAND INVOLV)
(c) Attorneys (Firm Name, Address. and Telephone Number) Attorneys (If Known)
Law Offices of Robert T Vance Jr, 100 South Broad Unknown
Street, Suite 905, Philadelphia PA 19110 (215) 557-9550
II. BASIS OF JURISDICTION (Piace an “x” in One Box Only) II. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X" in One Box for Plaintiff
(For Diversity Cases Only) and One Box for Defendant)
(J! U.S. Government [x]3 Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State {]t [2] 1 Incorporated or Principal Place (J4 (a4
of Business In This State
[-]2 U.S. Government (]4 Diversity Citizen of Another State [J2 () 2 Incorporated and Principal Place [[]5 [Js
Defendant (Indicate Citizenship of Parties in Item II) of Business In Another State
Citizen or Subject of a [13 (1) 3. Foreign Nation fle (Cle
Foreign Country
IV. NATURE OF SUIT {Place an “X”" in One Box Only) Click here for: .
| CONTRACT TORTS _|_FORFEITURE/PENALTY BANKRUPTCY OTHER STATUTES

 

 

 

 
 
  
  
  
 

[_] 110 Insurance PERSONAL INJURY PERSONAL INJURY | ]625 Drug Related Seizure

- 422 Appeal 28 USC 158

- 375 False Claims Act

 

 

 

    
 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

|} 120 Marine 310 Airplane TC] 365 Personal Injury - of Property 21 USC 881 423 Withdrawal 376 Qui Tam (31 USC
|| 130 Miller Act 315 Airplane Product Product Liability | 690 Other 28 USC 157 3729(a))
|_| 140 Negotiable Instrument Liability OC 367 Health Care/ 400 State Reapportionment
|_| 150 Recovery of Overpayment | 320 Assault, Libel & Pharmaceutical 410 Antitrust
& Enforcement of Judgment Slander Personal Injury 820 Copyrights |_| 430 Banks and Banking
151 Medicare Act | 330 Federal Employers" Product Liability 830 Patent |_| 450 Commerce
z 152 Recovery of Defaulted Liability TC 368 Asbestos Personal 835 Patent - Abbreviated |_| 460 Deportation
Student Loans 340 Marine Injury Product New Drug Application |_| 470 Racketeer Influenced and
(Excludes Veterans) 345 Marine Product Liability 840 Trademark Corrupt Organizations
C] 153 Recovery of Overpayment Liability PERSONAL PROPERTY _LABOR ] 880 Defend Trade Secrets | 480 Consumer Credit
of Veteran's Benefits 350 Motor Vehicle ~ 370 Other Fraud 710 Fair Labor Standards Act of 2016 (15 USC 1681 or 1692)
C] 160 Stockholders’ Suits 355 Motor Vehicle 371 Truth in Lending Act | 485 Telephone Consumer
|_| 190 Other Contract Product Liability [__] 380 Other Personal | _]720 Labor/Management Protection Act
~ 195 Contract Product Liability | 360 Other Personal Property Damage Relations 861 HIA (1395ff) S 490 Cable/Sat TV
196 Franchise Injury Fa 385 Property Damage 740 Railway Labor Act 862 Black Lung (923) 850 Securities/Commodities/
| 362 Personal Injury - Product Liability Hs Family and Medical 863 DIWC/DIWW (405(g)) |_ Exchange
Medical Malpractice Leave Act 864 SSID Title XVI 890 Other Statutory Actions
| REAL PROPERTY CIVIL RIGHTS [PRISONER PETITIONS | _]790 Other Labor Litigation 865 RSI (405(g)) 891 Agricultural Acts
210 Land Condemnation 440 Other Civil Rights Habeas Corpus: | 79] Employee Retirement || 893 Environmental Matters
220 Foreclosure 441 Voting =| 463 Alien Detainee Income Security Act | ) ; 895 Freedom of Information
230 Rent Lease & Ejectment «| 442 Employment 510 Motions to Vacate ] 870 Taxes (U.S. Plaintiff Act
240 Torts to Land 443 Housing/ Sentence or Defendant) 896 Arbitration
245 Tort Product Liability Accommodations : 530 General |] 871 IRS—Third Party a 899 Administrative Procedure
| }290 All Other Real Property —[__] 445 Amer. w/Disabilities -[_] 535 Death Penalty |____ IMMIGRATION _| 26 USC 7609 Act/Review or Appeal of
Employment Other: 462 Naturalization Application Agency Decision
| 446 Amer. w/Disabilities -|_| 540 Mandamus & Other 465 Other Immigration 950 Constitutionality of
Other 550 Civil Rights Actions State Statutes
| 448 Education 555 Prison Condition
560 Civil Detainee -
Conditions of
Confinement
V. ORIGIN (Place an “X" in One Box Only)
[x]! Original [_]2 Removed from [_] 3. Remanded from (_]4 Reinstated or [_] 5 Transferred from 6 Multidistrict []8 Multidistrict
Proceeding State Court Appellate Court Reopened Another District Litigation - Litigation -
(specify) Transfer Direct File

 

42 USC Section 1983

Brief description of cause:
Civil rights violation - 14th Amendment

VII. REQUESTED IN L] CHECK IF THIS IS A CLASS ACTION DEMAND $

VI. CAUSE OF ACTION

 

Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):

CHECK YES only if demanded in complaint:

 

 

 

 

 

 

COMPLAINT: UNDER RULE 23, F.R.Cv.P. JURYDEMAND: __ [z]¥es__[]No
VI. RELATED CASE(S)
IF ANY Reelin: nes eww . DOCKET NUMBER
DATE SIGNA ATTORM ‘RECORD 2
August 3, 2021 7 Je.
FOR OFFICE USE ONLY Sf fr
RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE

Sn

es
Case 2:21-cv-03460-BNGED SDOTERDESTRICIRNEURTS/03/21 Page 2 of 19
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 

 

 

 

 

DESIGNATION FORM
(to be used by counsel or pro se plaintiff to indicate the category of the case for the purpose of assignment to the appropriate calendar)
Address of Plaintiff: Conshohocken, Pennsylvania
Address of Defendant: Wayne, Pennsylvania
Place of Accident, Incident or Transaction: Wayne, P ennsylvania
RELATED CASE, IF ANY:
Case Number: None Judge: Date Terminated:

 

Civil cases are deemed related when Yes is answered to any of the following questions:

 

1. Is this case related to property included in an earlier numbered suit pending or within one year Yes No|
previously terminated action in this court? "

 

 

2. Does this case involve the same issue of fact or grow out of the same transaction as a prior suit Yes No wv
pending or within one year previously terminated action in this court?

 

 

 

 

 

 

3. Does this case involve the validity or infringement of a patent already in suit or any earlier Yes No wv
numbered case pending or within one year previously terminated action of this court?

 

 

 

 

 

 

4. Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights Yes [| No lV
case filed by the same individual?

I certify that, to my knowledge, the within case CJ is / E] is not related to any case now pending or within one year previously terminated action in
this court except as noted above.

pate: August 3, 2021

 

 

 

 

Attorney-at-Law / Pro Se Plaintiff Attorney ID. # (if applicable)
CIVIL: (Place a ¥ in one category only)
A. Federal Question Cases: B. Diversity Jurisdiction Cases:
(] 1. Indemnity Contract, Marine Contract, and All Other Contracts (] 1. Insurance Contract and Other Contracts
[] 2. FELA [] 2. Airplane Personal Injury
(] 3. Jones Act-Personal Injury [] 3. Assault, Defamation
CL] 4. Antitrust [] 4. Marine Personal Injury
[] 5. Patent [] 5. Motor Vehicle Personal Injury
[_] 6. Labor-Management Relations () 6. Other Personal Injury (Please specify):
7. Civil Rights [] 7. Products Liability
([] 8. Habeas Corpus [ 8. Products Liability - Asbestos
[] 9. Securities Act(s) Cases [] 9. Allother Diversity Cases
[-] 10. Social Security Review Cases (Please specify):
[] 11. Allother Federal Question Cases

(Please specify):

 

 

 

 

ARBITRATION CERTIFICATION
(The effect of this certification is to remove the case from eligibility for arbitration.)

I, Robert I Vance Jr , counsel of record or pro se plaintiff, do hereby certify:

 

 

wv Pursuant to Local Civil Rule 53.2, § 3(c) (2), that to the best of my knowledge and belief, the damages recoverable in this civil action case
exceed the sum of $150,000.00 exclusive of interest and costs:

 

 

 

Relief other than monetary damages is sought.

  
 
 

pate: August 3, 2021 icatyh 37692

Attorney-at-Law / Pro Sfflainiiy Attorney 1D. # (if applicable)

NOTE: A trial de novo will be a trial by jury only if there has been compliance with F.R.C.P. 38.

 

Civ. 609 (5/2018)

 
Case 2:21-cv-03460-NIQA Document 1 Filed 08/03/21 Page 3 of 19

United States District Court for the Eastern District of Pennsylvania

Ricole Morgan, individually and as
legal guardian of T.M., a minor,

Plaintiff,
vs : Civil Action No.
: Jury Trial Demanded
Valley Forge Military Academy & College, :
Defendant.
Complaint

Plaintiff, Ricole Morgan, individually and as legal guardian of T.M., a minor, brings a series of
claims against Defendant, of which the following is a statement:

1. This is a civil rights action in which the Plaintiff contends that defendant violated the Due
Process and Equal Protection Clauses of the U.S. Constitution and state common law in connection with
disciplinary action it took against T.M.

Jurisdiction and Venue

2. This Court has jurisdiction over the claims asserted herein pursuant to 28 U.S.C. § 1331,
this action being brought pursuant to 42 U.S.C. §1983, and the Civil Rights Act of 1991, Pub. L. 102-
166, 105 Stat. 1071 (Nov. 21, 1991). This Court may exercise supplemental jurisdiction over the
Plaintiff's state law claim pursuant to 28 U.S.C. §1367.

3. Venue is proper in this judicial district pursuant to 28 U.S.C. §1391(b).

Parties
4, Plaintiff, Ricole Morgan, is a resident of this judicial district and the legal guardian of

T.M. T.M. is African-American.
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5. Defendant, Valley Forge Military Academy & College, is a private college preparatory
boarding school and military junior college located at 1001 Eagle Road, Wayne PA 19087. At all times
relevant to this case, defendant received federal financial assistance.

6. The acts alleged in this Complaint were authorized, ratified and done by employees,
agents and servants of defendant acting within the scope of their employments and agencies, and acting
under color of state law.

Background Facts

7. Owing to its military history, students enrolled at defendant are known as “Cadets.”

8. According to defendant’s Student Handbook 2019-2020, defendant purports to build
“leaders of character.” Surely, however, character does not include subjecting Cadets to racially
discriminatory treatment or teaching Cadets to accept race discrimination or harassment. In fact,
defendant’s Student Handbook 2019-2020 provides,

A. Discrimination and Bias-Related Behaviors

Valley Forge Military College strictly prohibits any form of discrimination and

bias-related behaviors. VFMC is dedicated to educating students of diverse

racial and ethnic origins and to fostering broad appreciation for cultural and

ancestral diversity. Discrimination against any person on the basis of race,

disability, age, gender, color, ethnicity, ancestry, creed, religion, sexual orientation,

or national origin is against the law and violates the VFMC Community Standards.

9. Despite its alleged adherence to these lofty and worthwhile ideals, defendant fell
woefully short in fostering and promoting them with respect to Black Cadets in general, and with respect
to T.M. in particular, and perpetuated dangerous racial stereotypes and tropes. Among other actions,

a. Non-Black administrators and leadership at defendant frequently referred to Black
Cadets, including T.M., as a “gang” because they socialized together;

b. Leadership and administrators at defendant spoke openly about trying to find a way to get

rid of the group of Black Cadets they labeled a gang;
Case 2:21-cv-03460-NIQA Document1 Filed 08/03/21 Page 5 of 19

c. Without justification, leadership and administrators at defendant routinely referred to the
group of Black Cadets they labeled a gang as troublemakers;

d. Altercations among Cadets occurred frequently at defendant. When the altercations
involved non-Black Cadets, leadership and administrators did not involve the local police. However,
whenever the altercations involved Black Cadets, leadership and administrators routinely reported the
incident to and sought the involvement of local law enforcement; and

e. Black Cadets routinely were disciplined more severely than non-Black Cadets for
committing the same offenses.

10. T.M. enrolled at defendant on August 15, 2019. He was an honor student, served in
student leadership capacities at defendant, had received prestigious awards at defendant, and had an
otherwise unblemished record.

11. On October 30, 2020, an altercation occurred among some Cadets. Some Cadets had a
physical altercation with a non-Black Cadet who had made a racist and derogatory post on social media.
The non-Black Cadet previously had engaged in racist and discriminatory behavior, and although
defendant was aware of his actions, defendant never took any action against him. T.M. was not
involved in the altercation.

12. Consistent with its pattern and practice of discrimination against Black Cadets, and
without notifying Ms. Morgan, defendant immediately solicited the involvement of local law
enforcement, agents of which began to conduct interviews of Cadets outside of the presence of their
parents.

13. Despite the fact that T.M. was not involved in the physical altercation, defendant notified
Ms. Morgan by email on the morning of October 31, 2020, that he was, and that an investigation was

underway. See Ex. A attached hereto and made a part hereof.
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14. Despite the fact that T.M. was not involved in the physical altercation, during the evening
of October 31, 2020, defendant notified Ms. Morgan by email that T.M. was suspended until November
8, 2020, and that she should retrieve him from the campus. See Ex. B attached hereto and made a part
hereof.

15. By letter dated November 6, 2020, defendant dismissed T.M. allegedly for conduct
unbecoming a Cadet and conspiracy. See Ex. C attached hereto and made a part hereof.

16. By letter dated November 13, 2020, Ms. Morgan appealed T.M.’s dismissal. See Ex. D
attached hereto and made a part hereof.

17. By letter dated November 20, 2020, defendant notified Ms. Morgan the T.M.’s dismissal
had been overturned and that he would be allowed to return to defendant under a Suspended Dismissal
status, along with incurring certain non-negotiable penalties, including the loss of a Stein Scholarship, 4
months of restrictions, and a $500 fine. See Ex. E attached hereto and made a part hereof.

18. | The conditions defendant sought to impose on T.M. were oppressive, unfair, unjustified,
and discriminatory and consistent with its history and pattern and practice of disciplining Black Cadets
more severely than non-Black Cadets for comparable offenses. For example,

a. a non-Black Cadet threatened to “blow up the school” based on discipline he received
with which he did not agree. Local law enforcement, including several SWAT teams were called to the
campus to search for explosives, given the nature of the threat. In response, defendant merely
suspended the student, but allowed him to remain on campus; and

b. a non-Black Cadet spit in the face of a faculty member during a class. Defendant allowed

the student to remain on campus.
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19. Although defendant offered to reinstate T.M. with conditions, it did not allow him to
attend classes virtually, which negatively affected his academic progress. In contrast, a non-Black Cadet
involved in the incident was allowed to attend classes virtually.

20. Because of the discriminatory treatment defendant accorded to T.M., including the
oppressive, unfair, unjustified, and discriminatory conditions imposed on his return, Ms. Morgan
determined that T.M. would not return to defendant.

21. | Despite repeated requests from Ms. Morgan, consistent with its history and pattern and
practice of discrimination against Black Cadets, to date defendant has refused to provide Ms. Morgan an
official transcript for T.M. At the same time, however, defendant has demanded that Ms. Morgan pay
$9,720.67 in tuition for time that T.M. was not enrolled at defendant.

22. As a direct and proximate result of defendant’s conduct described above, Plaintiff and
T.M. suffered humiliation, embarrassment, mental anguish, pain and suffering, and other damages
associated with the violation of their civil rights.

23. Defendant acted and failed to act willfully, maliciously, intentionally, and with reckless
disregard for the rights of Plaintiff and T.M.

Count I
Equal Protection Clause of the Fourteenth Amendment

24. Plaintiff incorporates herein by reference as if set forth in full the averments of
paragraphs 1-23, inclusive, of this Complaint.

25. The actions and omissions of the defendant described above violated Plaintiff and T.M.’s
right guaranteed by the Equal Protection Clause of the Fourteenth Amendment to the U. S. Constitution
to be free from discrimination on the basis of race by intentionally treating him differently than non-

Black Cadets.
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Count I
Due Process Clause of the Fourteenth Amendment

26. Plaintiff incorporates herein by reference as if set forth in full the averments of
paragraphs 1-25, inclusive, of this Complaint.

27. | The actions and omissions of the defendant described above were intentionally injurious
to Plaintiff and T.M. and deliberately indifferent to the impact they would have on Plaintiff and T.M.

28. The totality of the circumstances and the defendant’s actions and omissions described
above shock the conscience.

29.  Defendant’s actions and omissions violated the substantive protections to which the
Plaintiff and T.M. were entitled under the Due Process Clause of the Fourteenth Amendment to the U.S.
Constitution.

Count IIT
Breach of Contract

30. Plaintiff incorporates herein by reference as if set forth in full the averments of
paragraphs 1-29, inclusive, of this Complaint.

31. The Student Handbook 2019-2020 created a contractual relationship with Plaintiff.

32.  Theactions and omissions of defendant described above breached material provisions of
the contract regarding ensuring that T.M. would not be subjected to race discrimination and breached the
covenant of good faith and fair dealing implied under the contract.

33. Asa direct and proximate result of defendant’s material breach of contract, Plaintiff and
T.M. incurred significant economic and non-economic damages.

Jury Demand

34. Plaintiff demands a trial by jury as to all issues so triable.
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Prayer for Relief
Wherefore, Plaintiff hereby demands judgment in her favor and against defendant, awarding her
all damages available at law, compensatory and punitive damages, attorney’s fees, expert witness fees,

costs and disbursements pursuant to 42 U.S.C. §1988, and such other and further relief as the Court

deems appropriate.

ML flow [
Robert T Vance Jr
Law Offices of Robert T ce Jr
100 South Broad Street, Strite 905

Philadelphia PA 19110
215 557 9550 tel / 215 278 7992 fax

rvance@vancelf.com

 

Attorney for Ricole Morgan
Case 2:21-cv-03460-NIQA Document1 Filed 08/03/21 Page 10 of 19

Exhibit A
To: “Anderson, charles D  <GDandgmonfeenepe _Cy_03460-NIQA Document 1 Filed 08/03/21 Page 11 of 19

Subject: Re: Assault
Mr Anderson, 1
As a follow up to my voicemail, could you please contact me as soon as possible at 484-994-7313. Thank you in advance.

Regards,
Ricale Morgan

On Oct 31, 2020, at 9:26 AM, Anderson, Charles D. <CDAnderson@vimac.edu> wrote:

Good Morning
This email is to inform you Tyme and several other boys lured another Cadet into a room, and punched kicked and choked him, apparently because a post made on snapchat.
We are currently conducting the investigation and as we peel this back we will keep you posted.

<image001.png> CD Anderson

Sergeant Major
United States Marine Corps Ret.
Lead TAC Officer Younghusband Hall

Valley Forge Military Academy & College

Office: 610-989-1270/127
Mobile/Fax: 484-803-2215

1001 Eagle Road, Wayne, PA 19087

vfmac.edu
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Exhibit B
Date: October 31, 2020 at 5:53:19 PMLEDT

To: “ticoletmoraan@amail com” <1 itee@Vv-O3460-NIQA Document 1 Filed 08/03/21 Page 13 of 19

Subject: Assault follow up

Good Evening Mrs. Morgan,

This email is to inform you that your son has been suspended until Nov 8. You may pick your son up tonight, however, no later than tomorrow at noon.

Respectfully,

Vince DeMarro

Director of Music

Valley Forge Military Academy & College

 

Office: 610-989-1252
Mobile 610-337-7400
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Exhibit C
  
  

De

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MILITARY
ACADEMY & COLLEGE

November 6, 2020

Ms. Ricole Morgan
335 BE. Hector Street
Conshohocken, PA 19428

Dear Ms. Morgan,

This letter will serve to confirm that in accordance with our Rules and Regulations, Tyme has been Dismissed from
Valley Forge Military Academy & College and the Corps of Cadets effective todays date, per Special Orders
No. 7 for Conduct Unbecoming a Cadet and Conspiracy.

If you wish to appeal this decision, please submit your request in writing to the President’s Office, in care of the
Commandant’s Department. The burden is on the appealing cadet to demonstrate why the finding of dismissal should
be altered. Appeals may be based only on the following grounds:

a. Denial of due process,
b. Significant and relevant new evidence that was not available at the time of the disciplinary action, and/or

c. Sanctions which are unduly harsh or arbitrary.

Appeal requests will be processed as follows:
a. Deliver the appeal to the Commandant’s Department for forwarding to the President’s Office.

b. The President’s Office will review the appeal and the entire record of the case.
c. Based upon a complete review of the merits of the case and the appeal, the President’s Office may do any of

the following:
(1) Determine the dismissal is warranted and affirm the results.

(2) Alter or suspend the original decision of dismissal.
(3) Refer the case to a new hearing authority for a rehearing.
(4) Dismiss the case.

The President’s Office is the final authority for any disciplinary action taken within the Corps of Cadets, and will
provide a written response to the appeal.

If you intend to appeal this decision, please provide your written appeal within seven days of the date of this
notification. In the interest of time, you may fax your appeal to 610-989-1260 or send it electronically to
lk. Sciiv@evtinac.cdu. Please send the original copy via mail.

If you have any questions regarding the coordination of final administrative actions, please contact SgtMaj Anderson,
USMC (Ret.), Lead Academy TAC Officer, at 610-989-1270.

    
  

Sincerel

 

; eC
Commandant of Cadets

cc: TAC Officer

1001 EAGLE ROAD @ WAYNE, PENNSLYVANIA ¢@ 19087-3695
800-234-VFMA @ www.-vfmac.edu
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Exhibit D
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November 13, 2020

Ricole Morgan

335 E. Hector St.
Conshohocken, Pa. 19428
484-994-7313
Ricoletmorgan@gmail.com

Valley Forge Military Academy & College
Julian J. Rivera, Commandant of Cadets
1001 Eagle Rd.

Wayne, Pa. 19087-3695

610-989-1200

Dear Valley Forge Military Academy & College:

I, Ricole Morgan, am writing in response to the correspondence received on November 11, 2020.
This letter serves as the formal appeal to Tyme Morgan’s (“Cadet Morgan”) expulsion decision
per Special Orders No. 7 (Conduct Unbecoming an Cadet and Conspiracy).

The requested appeal is based on the following:
e Denial of due process inclusive of the Radnor Police interview that was unbeknownst to
Ricole Morgan, Legal Court Appointed Guardian;
e Evidentiary Information; and
e Unduly Harsh Sanctions, amongst other things

Tyme Morgan started Valley Forge Military Academy & College (“the Academy”) on August
15, 2019. Since this time, Cadet Morgan has demonstrated stellar character and academic
performance. Cadet Morgan has been an upstanding young individual, which has been
demonstrated in a multitude of ways. Cadet Morgan was afforded with selective opportunities to
represent the Academy and has received prestigious awards, further demonstrating the
Academy’s perspective on Cadet Morgan and his character.

Cadet Morgan’s expulsion decision was based on Special Order No.7. Cadet Morgan has never
been involved in unbecoming activities and prides himself in representing the character that our
family has instilled in him. As previously mentioned, Cadet Morgan did not conspire nor
participate in the events that took place on October 30, 2020. In closing, the due process and
ultimate decision to expel Cadet Morgan has been extremely taxing and disappointing, on many
levels. At this time, I am respectfully requesting that we are granted with the opportunity to
adequately address this matter to the Board and or/President; with the ultimate goal of being
reinstated.

Respectfully,
Ricole Morgan
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Exhibit E
Case 2:21-cv-03460-NIQA Document1 Filed 08/03/21 Page 19 of 19

_ VALLEY FORGE MILITARY ACADEMY AND COLLEGE

1001 EAGLE ROAD, WAYNE, PA 19087-3695 / 610-989-1200 / FAX: 610-975-9642

 

OFFICE OF THE PRESIDENT
November 20, 2020

Ms. Ricole Morgan
335 E. Hector Street
Conshohocken, PA 19428

Dear Ms. Morgan,
I have read your letter appealing Tyme’s dismissal. I have reviewed his disciplinary and tactical records,
and have also met with the Dean of the Academy and the Commandant of Cadets to evaluate his

potential success at Valley Forge.

This is Tyme’s first ‘Class A’ offense.

The dismissal of Cadet Tyme Morgan will be overturned. However, Tyme will return to Valley Forge
Military Academy as a virtual learner & Cadet until the Corps of Cadets returns from winter break on or
about January 4, 2021.

Valley Forge Military Academy will pro-rate the charge for the Board for the rest of this semester from
the time Tyme was dismissed.

Tyme will be awarded the following penalty for his involvement in the assault and failure to act:

e Return under a Suspended Dismissal status.

© Loss of Stein Scholarship.

e 20 demerits

° 4 months of restriction

° 60 Penalty Tours

e $500.00 fine

e Must write a letter of apology to the victim

¢ Must agree to meet with the victim upon return, in person, for a mediated discussion about what

took place.
If you accept the above noted terms please inform myself and I will have the Academy staff reach out to
set up Tyme for virtual learning.
Tyme has the ability to continue with his Valley Forge education albeit remotely for the next couple of
weeks, You wrote a very compelling appeal and I do want to grant him a second chance. I would like to
see Tyme continue as a Cadet here at Valley Forge Military Academy and look forward to seeing him in
January 2021 where he can begin fresh.
Sincerely,

a. Fh

Stuart B. Helgeson
Colonel, USMC (ret)
President
